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Case 1:20-cv-00164-SPB-RAL Document6 Filed 04/08/21 Page 1of 24

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Honorable Marshall 3. Piccinini, Sudge

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Case 1:20-cv-00164-SPB-RAL Document6 Filed 04/08/21 Page 2 of 24

INTHE UNITED STATES PISTRECT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVABTA

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Attorney Michael Harmon , Es Ge (Shapira, Hutzelman & Smit a)

305 West bth Skreet

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Case 1:20-cv-00164-SPB-RAL Document6 Filed 04/08/21 3 of

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City of Erie Pennswiyanin
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Case 1:20-cv-00164-SPB-RAL ' Document6 Filed 04/08/21 Page 4 Hoar |

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISFRICT OF PENNSYLVANIA

Name and address of Plaintiff:

Brian Dadualus Anthoy
[LIB Ash S¥ree F
rig PA ILSO03

v.

eal name, title, and business address

io pend in this action:
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Erie PA ; USOs 5

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»AD.A, Michael Burns }? r
THO West Gth Street

Erix PA 1u501
Use additional! sheets, if necessary
Number each defendant.

Phaintiff brings this action against the above named and identified defendants’ on the following cause of

action:

1, Where are you now confined? Fry e County Prison Ceri @, PA d
What sentence are you serving? Trelt cect C C\ mn nal Cg nter pis prec)

What court imposed the sentence? ELP1@ County Court Of Common Pleas
CErie pal

Describe any and all lawsuits in which you are a plaintiff which deal with the same facts involved
in this action. (If there is more than one lawsuit, describe the additional lawsuits on another picce

of paper, using the same outline.)

IL. Previous Lawsuits

I. Parties to this previous lawsuit

Phaintifts

Defendants

Court (if federal court, name the district; if state court, name the county) and docket number

Case 1:20-cv-00164-SPB-RAL Document6 Filed 04/08/21 Page 5 of Page Dd

Name of judge to whom case was assigned

No

Disposition (For example: Was the case dismissed? Was it appealed? Is it still pending’)

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u

Approximate date of filing lawsuit

. 6. Approximate date of disposition

B. Prior disciplinary proceedings which deal with the same facts
involved in this action:

Where?
When?
Result:

It. What federal law do you claim was violated?

ly, Statement of Claim

(State here as briefly as possible the facts of your case. Do not give any legal arguments or cite
any cases or statutes. If you intend to allege a number of related claims, ntimber and set forth
each claim in a separate paragraph. Use as much space as you need. Attach extra sheet if

necessary,}

A. Date of event: Julylaoie throualy Jul32020

B, Place of event: Cihy Of Erie, Pennsylvania,

” Commonwealth of PenaAsylyanta
C. Persons involved--name each person and tell what that person did

to you:

Case 1:20-cv-00164-SPB-RAL Document6 Filed 04/08/21 Page 6 of B#4* X Convlout

TL. What fecleral law cdo You cluim was \iolated 2

Amendment (4\ — Search & Seizure.

Amendment (S)- Due Process

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Case 1:20-cv-00164-SPB-RAL Document6 Filed 04/08/21 Page 7 of of gee € '

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Case 1:20-cv-00164-SPB-RAL Documenté6 Filed 04/08/21 Page 8 of 24

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Case 1:20-cv-00164-SPB-RAL Document6 Filed 04/08/21 Pdge‘l4 of 24

Attorney Michael Harmon Esq.

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Case 1:20-cv-00164-SPB-RAL Document6 Filed 04/08/21 Page 18 Boh

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Case 1:20-cv-00164-SPB-RAL Document 6 Filed 04/08/21 Page 20 of 2PAge 3

Vv. Did the incident of which you complain occur in an institution or place of custody in this District?
If so, where?

and answer the following questions:

A. Is there a prisoner grievance procedure in this institution?
Yes() No() ’

B, Did you present the facts relating to your complaint in the state prisoner grievance procedure?
Yes() No{)

_C. If your answer is YES,

1. What steps did you take?

2. What was the result?

D. [f your answer is NO, explain why net:

E, If there is no prison grievance procedure in the institution, did you complain to prison authorities?
Yes() No()

F, If your answer is YES,

1. What steps did you take?

2. What was the result’?

Vi. Relief

State briefly exactly what you_want the court to do for you. Make no legal arguments. Cite no

cases or statues,

| DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
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